                        Case 2:15-cv-03813-MWF-PJW Document 1 Filed 05/20/15 Page 1 of 11 Page ID #:1



                        1      LINDBERGH PORTER, Bar No. 100091
                               lporter@littler.com
                        2      MARY D. WALSH, Bar No. 197039
                               mdwalsh@littler.com
                        3      LITTLER MENDELSON, P.C.
                               650 California Street, 20th Floor
                        4      San Francisco, CA 94108.2693
                               Telephone: 415.433.1940
                        5      Facsimile: 415.399.8490
                        6      CHRISTOPHER L. DENGLER, Bar No. 251782
                               cdengler@littler.com
                        7      LITTLER MENDELSON, P.C.
                               2049 Century Park East, 5th Floor
                        8      Los Angeles, CA 90067
                               Telephone: 310.553.0308
                        9      Facsimile: 310.553.5583
                      10       Attorneys for Defendant
                               DOLLAR TREE STORES, INC.
                      11

                      12                             UNITED STATES DISTRICT COURT
                      13                           CENTRAL DISTRICT OF CALIFORNIA
                      14

                      15       CURTIS PATTON, an individual, on   Case No. 2:15-cv-03813
                               behalf of himself and all others
                      16       similarly situated;                NOTICE TO FEDERAL COURT OF
                                                                  REMOVAL OF CIVIL ACTION
                      17                     Plaintiff,           PURSUANT TO 28 U.S.C. SECTIONS
                                                                  1332, 1441 AND 1446
                      18       v.
                                                                  [Los Angeles County Superior Court
                      19       DOLLAR TREE STORES, INC., a        Case No. BC577498]
                               Virginia corporation; and DOES 1
                      20       through 100, inclusive,            Complaint Filed:     April 2, 2015
                      21                     Defendants.          Trial Date:          None Set
                      22

                      23

                      24

                      25

                      26

                      27

                      28
 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor
San Francisco, CA 94108.2693
        415.433.1940
                        Case 2:15-cv-03813-MWF-PJW Document 1 Filed 05/20/15 Page 2 of 11 Page ID #:2



                        1            TO THE CLERK OF THE ABOVE-ENTITLED COURT:
                        2            PLEASE TAKE NOTICE that, Dollar Tree Stores, Inc. (“Defendant” or “Dollar
                        3      Tree”) hereby removes the action entitled Patton v. Dollar Tree Stores, Inc. from the
                        4      Superior Court for the State of California, in and for the County of Los Angeles, to the
                        5      United States District Court for the Central District of California. This removal is
                        6      based on the Class Action Fairness Act of 2005 (“CAFA”), codified at 28 U.S.C. §§
                        7      1332(d), 1441(b) and 1446. Dollar Tree sets forth the grounds for jurisdiction and
                        8      removal in more detail as follows:
                        9            I.     STATEMENT OF JURISDICTION
                      10             1.     Removal jurisdiction exists because this Court has original jurisdiction
                      11       over this action under the CAFA. The CAFA grants district courts original jurisdiction
                      12       over civil class actions filed under federal or state law in which any member of a class
                      13       of plaintiffs, which numbers at least 100, is a citizen of a state different from any
                      14       defendant and where the amount in controversy for the putative class members in the
                      15       aggregate exceeds the sum or value of $5,000,000, exclusive of interest and costs. 28
                      16       U.S.C. § 1332(d). The CAFA authorizes removal of such actions pursuant to 28
                      17       U.S.C. § 1446.
                      18             2.     As set forth below, this case meets all of the requirements for removal
                      19       and is timely and properly removed by the filing of this Notice.
                      20             II.    VENUE
                      21             3.     For removal jurisdiction purposes only, venue is proper in the United
                      22       States District Court for the Central District of California, Western Division because
                      23       Plaintiff Curtis Patton (“Plaintiff”) filed his Complaint in the Superior Court for the
                      24       County of Los Angeles. 28 U.S.C. §§ 84(c)(2), 1391 and 1446. Dollar Tree does not
                      25       waive its right to file a motion to transfer for forum non conveniens.
                      26             III.   PLEADINGS, PROCESS AND ORDERS
                      27             4.     On April 2, 2015, Plaintiff filed an unverified complaint in the Superior
                      28       Court for the County of Los Angeles, entitled Curtis Patton v. Dollar Tree Stores,
 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor                                                    1.
San Francisco, CA 94108.2693
        415.433.1940
                        Case 2:15-cv-03813-MWF-PJW Document 1 Filed 05/20/15 Page 3 of 11 Page ID #:3



                        1      Inc., Case Number BC577498 (the “Complaint”).
                        2            5.      On May 5, 2015, Plaintiff delivered a copy of the Summons and
                        3      Complaint to its agent for service of process. True and correct copies of the Summons
                        4      and Complaint provided to Dollar Tree’s agent for service of process are attached
                        5      hereto as Exhibit A.
                        6            6.      On May 19, 2015, Dollar Tree filed an Answer to the Complaint with the
                        7      Superior Court of California, County of Los Angeles. A true and correct copy of the
                        8      Answer is attached hereto as Exhibit B.
                        9            7.      A copy of all other pleadings, processes and orders served on Dollar Tree
                      10       (and not previously referenced) are attached hereto as Exhibit C.
                      11             8.      Plaintiff asserts six separate causes of action: (1) failure to pay overtime
                      12       in violation of LAB. CODE §§ 510, 1194 & 1198; (2) failure to provide meal periods in
                      13       violation of LAB. CODE §§ 226.7 & 512, and 8 CAL. CODE REGS. § 11070(11); (3)
                      14       failure to provide rest periods in violation of LAB. CODE §§ 226.7 and 8 CAL. CODE
                      15       REGS. § 11070(12); (4) failure to provide accurate itemized wage statements in
                      16       violation of LAB. CODE § 226; (5) failure to provide printed wage statements in
                      17       violation of LAB. CODE § 226; and (6) unfair competition in violation of BUS. & PROF.
                      18       CODE §§ 17200, et seq.
                      19             9.      In addition to his own claims, Plaintiff seeks to represent two subclass of
                      20       Dollar Tree’s California employees:
                      21                   • Subclass 1 (Store Manager Subclass): All persons employed as a Store
                      22                     Manager in one or more “Dollar Tree” branded stores in California at any
                      23                     time on or after April 2, 2011. Complaint at ¶ 3(a).
                      24                   • Subclass 2 (Wage Statement Subclass): All persons employed in one or
                      25                     more “Dollar Tree” branded stores in California at any time on or after
                      26                     April 2, 2011. Complaint at ¶ 3(b).
                      27             IV.     TIMELINESS OF REMOVAL
                      28             10.     This Notice of Removal is timely. Under 28 U.S.C. § 1446(b), the notice
 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor                                                     2.
San Francisco, CA 94108.2693
        415.433.1940
                        Case 2:15-cv-03813-MWF-PJW Document 1 Filed 05/20/15 Page 4 of 11 Page ID #:4



                        1      of removal of a civil action must be filed within thirty (30) days of service of the
                        2      Summons and Complaint.
                        3            11.    The complaint was filed on April 2, 2015, and was delivered on May 5,
                        4      2015, to Dollar Tree’s agent for service of process. Therefore, Dollar Tree’s Notice of
                        5      Removal is well within the time limits set forth by section 1446(b).
                        6            V.     JURISDICTION PURSUANT TO THE CAFA
                        7            12.    The CAFA grants federal district courts original jurisdiction over civil
                        8      class action lawsuits filed under federal or state law in which there are at least 100
                        9      members of the class, any member of a class of plaintiffs is a citizen of a state
                      10       different from any defendant, and the matter in controversy exceeds $5,000,000,
                      11       exclusive of interest and costs. 28 U.S.C. § 1332(d). This action meets each of the
                      12       CAFA requirements for removal because, as is set forth more particularly below: (a)
                      13       the proposed class contains at least 100 members; (b) Dollar Tree is not a state, state
                      14       official, or other governmental entity; (c) the total amount in controversy exceeds
                      15       $5,000,000; and (d) there is diversity of citizenship between at least one class member
                      16       and the only named defendant.
                      17             A.     The Proposed Class Contains At Least 100 Members.
                      18             13.    The CAFA defines a “class action” as any civil action filed under Federal
                      19       Rule of Civil Procedure 23 or similar state statute. See 28 U.S.C. § 1332(d)(1)(B).
                      20       Plaintiff has pled this action as a class action pursuant to California Code of Civil
                      21       Procedure section 382. Complaint at ¶¶ 3 and 8.
                      22             14.    Plaintiff asserts two different subclasses in the Complaint. Plaintiff
                      23       defines the putative subclasses he seeks to represent, as follows:
                      24                    a)    Subclass 1 (Store Manager Subclass) is defined as follows:
                      25             All persons employed as a Store Manager in one or more “Dollar Tree” branded
                      26       stores in California at any time on or after April 2, 2011. Complaint at ¶ 3(a).
                      27                    b)    Subclass 2 (Wage Statement Subclass) is defined as follows:
                      28             All persons employed in one or more “Dollar Tree” branded stores in California
 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor                                                    3.
San Francisco, CA 94108.2693
        415.433.1940
                        Case 2:15-cv-03813-MWF-PJW Document 1 Filed 05/20/15 Page 5 of 11 Page ID #:5



                        1      at any time on or after April 2, 2011. Complaint at ¶ 3(b).
                        2             15.     Defendant’s records reflect that Defendant employed approximately 960
                        3      individuals in the position of Store Manager in a Dollar Tree store in California
                        4      between April 2, 2011, and the present (Plaintiff’s proposed Subclass 1). Defendant’s
                        5      records reflect that it employed approximately 47,274 individuals in a Dollar Tree
                        6      store in California between April 2, 2011, and the present (Plaintiff’s proposed
                        7      Subclass 2). 1 Approximately 21,621 individuals were or are employed in a Dollar
                        8      Tree store in California from April 2, 2014 to the present. Thus, the aggregate number
                        9      of the putative class members alleged in Plaintiff’s Complaint exceeds the 100 person
                      10       minimum CAFA threshold.
                      11              B.      Dollar Tree Is Not A State, State Official Or Governmental Entity.
                      12              16.     Dollar Tree is a private corporation incorporated under the laws of the
                      13       Commonwealth of Virginia. Therefore, it is not a state, state official, or governmental
                      14       entity; nor is any of its related entities.
                      15              C.      The Parties Are Minimally Diverse.
                      16              17.     CAFA’s minimal diversity requirement is satisfied, inter alia, when “any
                      17       member of a class of plaintiffs is a citizen of a State different from any defendant.” 28
                      18       U.S.C. § 1332(d)(2(A); 1453(b); see Bush v. Cheaptickets, Inc., 425 F.3d 683, 684
                      19       (9th Cir. 2005) (noting CAFA vests original jurisdiction for class actions in federal
                      20       court where minimal diversity exists); Newcombe, 157 F.3d at 690-91. Here, minimal
                      21       diversity exists among the parties for removal pursuant to CAFA because Plaintiff is a
                      22       citizen of the State of California and Dollar Tree is a citizen of the State of Virginia.
                      23              18.     In the Complaint, Plaintiff alleges that he worked “as a Store Manager in
                      24       the ‘Dollar Tree’ branded stores located in Garden Grove and Pico Rivera,
                      25
                               1
                      26         The alleged time period for Plaintiff’s proposed Subclass 2 is from April 2, 2011 to the present.
                               However, the only cause of action asserted by Subclass 2 (Plaintiff’s fifth cause of action for failure
                      27       to provide printed wage statements) is for penalties pursuant to Labor Code section 226, and the
                               statute of limitations for such causes of action is one year. CAL. CIV. P. CODE § 340(a). Therefore,
                      28       Plaintiff’s proposed Subclass 2 should be limited to no more than April 2, 2014 to the present.
 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor                                                           4.
San Francisco, CA 94108.2693
        415.433.1940
                        Case 2:15-cv-03813-MWF-PJW Document 1 Filed 05/20/15 Page 6 of 11 Page ID #:6



                        1      California.” Complaint at ¶ 6(a). Dollar Tree’s business records indicate that Plaintiff
                        2      last reported he physically resided in Monterey Park, Los Angeles County, California
                        3      91754-6547. See Declaration of David McDearmon, ¶ 6. Thus, Defendant has
                        4      established by a preponderance of evidence that Plaintiff resided and was domiciled in
                        5      Los Angeles County, and therefore a citizen of California.
                        6            19.    For diversity purposes, a corporation “shall be deemed a citizen of any
                        7      State in which it is incorporated and of the State where it has its principal place of
                        8      business.” 28 U.S.C. § 1332(c)(1). The Supreme Court’s decision in Hertz v. Friend,
                        9      559 U.S. 77, 91-92 (2010), clarified that a corporation’s principal place of business is
                      10       “the place where a corporation’s officers direct, control, and coordinate the
                      11       corporation’s activities,” which should “normally be the place where the corporation
                      12       maintains its headquarters.” Dollar Tree is a corporation incorporated under the laws
                      13       of the Commonwealth of Virginia. Complaint at ¶ 9(a); see also Declaration of David
                      14       McDearmon, ¶ 3.
                      15             20.    For diversity purposes, Dollar Tree’s corporate headquarters are located
                      16       in Chesapeake, Virginia, where its executive and senior management personnel live
                      17       and work and its primary operations are located. See Declaration of David
                      18       McDearmon, ¶ 3. Thus, Dollar Tree is not a citizen of California but a citizen of
                      19       Virginia. See Breitman v. May Co. Cal., 37 F.3d 562, 564 (9th Cir. 1994) (corporation
                      20       was citizen of state in which its corporate headquarters was located and where its
                      21       executive and administrative functions were performed).
                      22             D.     The Amount In Controversy Exceeds $5,000,000.
                      23             21.    As recently confirmed by the United States Supreme Court, “a
                      24       defendant's notice of removal need include only a plausible allegation that the amount
                      25       in controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating
                      26       Co., LLC v. Owens (2014) 135 S.Ct. 547, 554. The notice of removal “need not
                      27       contain [any] evidentiary submissions” whatsoever. Ibarra v. Manheim Investments,
                      28       Inc. (9th Cir. 2015) 775 F.3d 1193, 1197 (citing Dart, supra, 135 S.Ct. at 554). It is
 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor                                                    5.
San Francisco, CA 94108.2693
        415.433.1940
                        Case 2:15-cv-03813-MWF-PJW Document 1 Filed 05/20/15 Page 7 of 11 Page ID #:7



                        1      only if “the defendant’s assertion of the amount in controversy is challenged by
                        2      plaintiffs in a motion to remand . . . that both sides submit proof and the court then
                        3      decides where the preponderance lies.” Ibarra, supra, 775 F.3d at 1197 (citing Dart,
                        4      supra, 135 S.Ct. at 554). Stated more simply, any plausible allegation in a defendant’s
                        5      notice of removal must be accepted, and can be challenged, if at all, only by way of a
                        6      motion to remand.
                        7            22.    Plaintiff’s Complaint is silent as to the total amount in controversy.
                        8      Nevertheless, as explained herein, the allegations in the Complaint demonstrate that
                        9      the amount in controversy well exceeds the CAFA jurisdictional minimum of
                      10       $5,000,000. By demonstrating that the amount in controversy exceeds the CAFA
                      11       threshold, Dollar Tree in no way concedes the validity of Plaintiff’s claims, the legal
                      12       bases for the damages calculations or statute of limitations, or the likelihood that
                      13       Plaintiff will recover anything.
                      14             23.    A summary of the amounts put in controversy by the claims in Plaintiff’s
                      15       complaint is set forth below:
                      16              Cause of Action                                               Amount
                                      Failure to pay overtime in California:                           TBD
                      17              Failure to provide meal periods:                            $7,698,240
                      18              Failure to provide rest periods:                            $7,698,240
                                      Inaccurate wage statements:                                 $1,673,350
                      19              Failure to provide printed wage statements:                $29,188,350
                      20              Unfair competition:                                               N/A
                                      Attorneys’ fees                                                  TBD
                      21
                                                                              Total:             $46,258,180
                      22

                      23
                                     24.    Missed Meal Periods. Plaintiff’s second cause of action seeks an hour of

                      24
                               premium pay for missed meal periods, plus attorneys’ fees, for over 960 current and

                      25
                               former Dollar Tree Store Managers in California. Complaint at ¶¶ 27-32. The

                      26
                               Complaint alleges that Dollar Tree “failed to provide meal periods as required by

                      27
                               [applicable California law]” and has “intentionally and improperly denied meal

                      28
                               periods to Plaintiff and the other members of the [Store Manager Subclass] in
 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor                                                   6.
San Francisco, CA 94108.2693
        415.433.1940
                        Case 2:15-cv-03813-MWF-PJW Document 1 Filed 05/20/15 Page 8 of 11 Page ID #:8



                        1      violation of [applicable California law]” by “requiring Plaintiff and other members of
                        2      [the Store Manager Subclass] to work through meal periods free from work duties.”
                        3      Complaint at ¶¶ 31-32. Plaintiff’s allegation that he “[w]as not provided with meal
                        4      breaks” and that “Plaintiff and the other members of [the Store Manager Subclass]
                        5      have worked more than five hours in a workday [without being provided meal
                        6      periods]” makes it clear that Plaintiff is alleging that every current and former non-
                        7      exempt Store Manager employee who performed work in California and who worked
                        8      more than five (5) hours in a work day in the past four years has been denied meal
                        9      periods as required by California law. Complaint at ¶¶ 6(e) and 32.
                      10              25.    For removal purposes, Dollar Tree interprets Plaintiff’s allegation that
                      11       employees were not provided the opportunity to take meal periods during any given
                      12       workday, and Plaintiff’s use of the term “intentionally and improperly,” to mean
                      13       employees did not receive a proper meal period 50% or more of the time. A similar
                      14       assumption was previously acceptable in Stevenson v. Dollar Tree Distribution Stores,
                      15       Inc. and again in Stafford v. Dollar Tree Distribution Stores, Inc. See Stevenson v.
                      16       Dollar Tree Distribution Stores, Inc., 2011 U.S. Dist. LEXIS 119801, *9-11 (E.D.
                      17       Cal. Oct. 14, 2011) (Mueller, J.).
                      18              26.    Based on a preliminary review of its records, Dollar Tree believes that its
                      19       exempt Store Managers in California worked approximately 633,600 shifts2 during the
                      20       class period, and that those Store Managers earned an average of $24.30 per hour.
                      21       Assuming, as Plaintiff alleges, that they were misclassified and that they missed 50%
                      22       of their meal periods, the amount put in controversy by this claim is approximately
                      23       $7,698,240.
                      24

                      25       2
                                The 960 Store Managers employed in California, who worked at some point during the statutory
                      26       period, worked an average of 132 weeks in the 4-year statutory period. Taking 132 weeks, multiplied
                               by the 960 Store Managers employed in California at any given point in time during the class period,
                      27       multiplied by 5 shifts worked per week, equals approximately 633,600 shifts worked by California
                               Store Managers from April 2, 2011 to May 20, 2015.
                      28
 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor                                                         7.
San Francisco, CA 94108.2693
        415.433.1940
                        Case 2:15-cv-03813-MWF-PJW Document 1 Filed 05/20/15 Page 9 of 11 Page ID #:9



                        1             27.    Missed Rest Breaks. Plaintiff seeks an hour of premium pay for missed
                        2      rest periods, for all 960 Store Managers who worked in California during the past four
                        3      years. Similar to his meal period claims, Plaintiff alleges that Store Managers were
                        4      “prevented” from taking rest breaks. Complaint at ¶ 38.
                        5             28.    Using the same assumptions and reasoning discussed above with respect
                        6      to meal periods, Plaintiff has put approximately $7,698,240 in controversy based on
                        7      his third cause of action for missed rest breaks.
                        8             29.    Itemized Wage Statements. Plaintiff’s fourth cause of action seeks
                        9      damages for Dollar Tree’s alleged “knowing, willful, and unlawful failure to provide
                      10       accurate wage statements.” Complaint at ¶ 43. Pursuant to California Labor Code
                      11       section 226(e)(1), the putative class is entitled to recover $50 for initial violations,
                      12       $100 for subsequent violations and up to $4,000 in damages per employee. Plaintiff
                      13       alleges that Dollar Tree’s failure to include “the total hours worked and all wages
                      14       earned . . . to Plaintiff and [the Store Manager Subclass]” caused class members to
                      15       receive improper wage statements. Complaint at ¶ 42.
                      16              30.    Plaintiff’s fourth cause of action for failure to provide itemized wage
                      17       statements is a cause of action for penalties pursuant to Labor Code section 226, and
                      18       the statute of limitations for such causes of action is one year. CAL. CIV. P. CODE §
                      19       340(a). Dollar Tree estimates that approximately 683 Store Managers were working in
                      20       California from April 2, 2014 through May 20, 2015. Based on a preliminary review
                      21       of its records, Dollar Tree believes that its exempt Store Managers in California were
                      22       issued approximately 17,075 wage statements 3 during the one-year statutory period.
                      23       At an initial penalty of $50 and subsequent penalties at $100, this put a total of
                      24       $1,673,350.00 in controversy for Plaintiff’s fourth cause of action.
                      25
                               3
                      26        The 683 Store Managers employed in California, who worked at some point from April 2, 2014 to
                               May 20, 2015, worked an average of 25 pay periods. Taking 25 pay periods, multiplied by the 683
                      27       Store Managers employed in California at some point from April 2, 2014 to May 20, 2015, equals
                               approximately 17,075 wage statements issued to California Store Managers from April 2, 2011 to
                      28       May 20, 2015.
 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor                                                       8.
San Francisco, CA 94108.2693
        415.433.1940
                     Case 2:15-cv-03813-MWF-PJW Document 1 Filed 05/20/15 Page 10 of 11 Page ID #:10



                        1             31.     Printed Wage Statements. Plaintiff’s fifth cause of action seeks damages
                        2      for Dollar Tree’s alleged “knowing, willful, and unlawful failure to provide accurate
                        3      wage statements.” Complaint at ¶¶ 46-47. Pursuant to California Labor Code section
                        4      226(e)(1), the putative class is entitled to penalties of $50 up to $4,000 per wage
                        5      statement, per employee. Plaintiff alleges that Dollar Tree’s failure “to provide wage
                        6      statements in printed form, including the option of receiving such wage statements in
                        7      printed form upon request” to Plaintiff and members of the Wage Statement Subclass
                        8      is a violation of Labor Code section 226. Complaint at ¶ 46.
                        9             32.     Approximately 9,987 employees currently are working in Dollar Tree
                      10       Stores in California – with that number expanding to approximately 21,621 employees
                      11       who have worked in Dollar Tree Stores in California from April 2, 2014 to the
                      12       present.4 Based on a preliminary review of its records, Dollar Tree believes that these
                      13       21,621 employees who have worked at a Dollar Tree store in California any time from
                      14       April 2, 2014 to the present were issued approximately 302,694 wage statements 5
                      15       during the one-year statutory period. At an initial penalty of $50 and subsequent
                      16       penalties at $100, this put a total of $29,188,350 in controversy for Plaintiff’s fifth
                      17       cause of action.
                      18              33.     Total. Totaling the amounts above, Defendant estimates that Plaintiff has
                      19       put approximately $46,258,180 in controversy based on only four causes of action.
                      20       This amount does not include the amounts put in controversy by Plaintiff’s causes of
                      21       action for unpaid overtime in California. Finally, the $46.3 million figure does not
                      22       include any of the attorneys’ fees Plaintiff seeks to recover. Dollar Tree reserves the
                      23       4
                                 Because the statute of limitations for claims under California Labor Code section 226 is one year,
                      24       Dollar Tree limits its amount in controversy calculation for this cause of action to April 2, 2014 to
                               the present.
                      25       5
                                 The 21,621 individuals employed in a Dollar Tree store in California, who worked at some point
                      26       from April 2, 2014 to May 20, 2015, worked an average of 14 pay periods. Taking 14 pay periods,
                               multiplied by the 21,621 individuals employed in a Dollar Tree store in California, who worked at
                      27       some point from April 2, 2014 to May 20, 2015, equals approximately 302,694 wage statements
                               issued from April 2, 2011 to May 20, 2015.
                      28
 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor                                                           9.
San Francisco, CA 94108.2693
        415.433.1940
                     Case 2:15-cv-03813-MWF-PJW Document 1 Filed 05/20/15 Page 11 of 11 Page ID #:11



                        1      right to offer evidence of the amounts put in controversy by such claims in the future
                        2      to the extent its assertions herein or the jurisdictional basis for removal under CAFA
                        3      are challenged.
                        4               34.       In sum, the Complaint places in controversy in excess of the $5 million
                        5      jurisdictional minimum required to establish diversity under the CAFA.
                        6               VI.       NOTICE TO PLAINTIFF AND THE STATE COURT
                        7               35.       As required by 28 U.S.C. § 1446(b), Dollar Tree is concurrently
                        8      providing Plaintiff, through his counsel, with written notice of this removal.
                        9               36.       Further, Dollar Tree is also concurrently filing a copy of the Notice of
                      10       Removal with the Los Angeles County Superior Court, pursuant to 28 U.S.C. §
                      11       1446(d).
                      12                37.       If the event the Court should be inclined to remand this action, Dollar
                      13       Tree requests that the Court issue an order to show cause why the case should not be
                      14       remanded, giving Dollar Tree (as well as plaintiff) an opportunity to present briefing
                      15       and argument prior to any possible remand.
                      16                 WHEREFORE, Dollar Tree hereby removes this action from the Superior
                      17       Court of the State of California, in and for the County of Los Angeles, to the United
                      18       States District Court, Central District of California.
                      19
                               Dated:             May 20, 2015                    Respectfully submitted,
                      20

                      21                                                          /s/ Christopher L. Dengler
                                                                                  LINDBERGH PORTER
                      22                                                          MARY D. WALSH
                                                                                  CHRISTOPHER L. DENGLER
                      23                                                          LITTLER MENDELSON, P.C.
                                                                                  Attorneys for Defendant
                      24                                                          DOLLAR TREE STORES, INC.
                      25       Firmwide:133491757.4 061603.1171


                      26

                      27

                      28
 LITTLER MENDELSON, P.C.
     650 California Street
          20th Floor                                                        10.
San Francisco, CA 94108.2693
        415.433.1940
